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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION              No. 2:12-md-02323-AB
INJURY LITIGATION                       MDL No. 2323


Kevin Turner and Shawn Wooden,          Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

         Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

         Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS

      OBJECTION TO JUNE 25, 2014 CLASS ACTION SETTLEMENT AND
       OPPOSITION TO MOTION FOR PRELIMINARY APPROVAL OF
 SEAN MOREY, ALAN FANECA, BEN HAMILTON, ROBERT ROYAL, RODERICK
          CARTWRIGHT, JEFF ROHRER, AND SEAN CONSIDINE
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                                         INTRODUCTION

       The Revised Settlement is a great deal – for the NFL and Class Counsel. It is a lousy

deal for the retired players, whose rights have been bargained away without adequate or

independent representation.

       Class Counsel bear the burden of demonstrating that their Revised Settlement presents a

certifiable class and appears to fall within the range of possible approval. Demonstrating the

latter means the proposed settlement must not disclose grounds to doubt its fairness. The

Revised Settlement proposes a class with significant conflicts that render it uncertifiable and it

suffers other defects that render it anything but fair.

       Its fatal defects include:

             The rights of at least three groups of class members – those suffering from, or
              displaying symptoms consistent with, CTE who do not die before preliminary
              approval; those who have suffered or are at risk of suffering a stroke or non-
              football traumatic brain injury; and those who played in NFL Europe – were
              bargained away without adequate representation;

             The proposed notice is false and misleading;

             The claims process is so onerous and confusing that it raises due process as well
              as fairness concerns;

             It was not the product of arm’s length negotiation – as evidenced by the intra-
               class conflicts, the lack of transparency, and the $112.5 million fee award to
               Class Counsel; and

             Class Counsel conducted no discovery – thus there is no factual record on which
              to evaluate the strength of the claims and defenses.

       With much fanfare, Class Counsel proclaim they “have lifted the cap” and thereby

addressed any concern about the settlement fund’s adequacy. Thus, they contend, this Court

should grant preliminary approval. But cap or no cap, the Revised Settlement comes nowhere

near being fair, adequate, and reasonable.
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         Every former player surrenders his right to sue the NFL for cognitive injuries – including

CTE, which science shows a significant number may have. In exchange, those former players –

often operating with cognitive challenges – get the right to navigate a procedural labyrinth

designed to limit the number and the amount of settlement payouts.

         Significantly, Class Counsel have boasted that in lifting the cap, they have not really

increased the financial exposure to the NFL.1 It is clear now why. Given the limitations on who

qualifies for compensation and the complex, one-sided process for determining that, it is likely

the settlement will cost the NFL less than $765 million.

         Preliminary approval should be denied.

                                         BACKGROUND

I.       Background of Objectors

         Objectors are seven former players who each had a significant career in the NFL, having

played, on average, nine seasons. They include linemen, as well as so-called “skill position” and

special teams players. The most senior began his NFL career in 1982 and the most junior retired

in 2012. Three of them played on Super Bowl championship teams.2

         Sean Morey played nine seasons with the New England Patriots, Philadelphia Eagles,

Pittsburgh Steelers, Arizona Cardinals, and Barcelona Dragons, an NFL Europe team. An Ivy

League stand-out at Brown University, Mr. Morey set multiple collegiate records and graduated

with academic honors. In 1999, the New England Patriots selected him as a seventh round draft

pick.    In 2003, Mr. Morey won the Special Teams MVP award while playing with the


1
 See Mem. 1 (“[T]he Settling Parties became so confident in the prior actuarial assumptions and
projections that an agreement to uncap the amount of the Monetary Award Fund was reached.”).
2
 As described in greater detail infra at page 14, Objectors are the same group of players who
moved to intervene on May 5, 2014.


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Philadelphia Eagles. In 2004, Mr. Morey moved to the Pittsburgh Steelers, where he was captain

of the special teams and earned a Super Bowl ring. He eventually moved to the Arizona

Cardinals and was named to the 2008 Pro Bowl. Mr. Morey retired just before the 2010 season.

While an active player, Mr. Morey co-chaired the NFLPA Mackey White Traumatic Brain Injury

Committee and served as a representative in collective bargaining negotiations with the NFL.

He is currently head coach of the sprint football team at Princeton University.

       Alan Faneca played 13 seasons in the NFL as an offensive lineman. A star at Louisiana

State University, Mr. Faneca received consensus All-American honors as a junior and was

named a finalist for the prestigious Outland Trophy, which recognizes the best interior lineman

in college football. Selected by the Pittsburgh Steelers in the first round of the 1998 NFL draft,

Mr. Faneca was named the team’s rookie of the year. A fixture on the Steelers’ offensive line for

ten seasons, Mr. Faneca earned a Super Bowl ring in 2006. In 2007, Steeler fans elected him to

the Steelers’ 75th Anniversary All Time Team. Mr. Faneca left the Steelers in 2008 for two

seasons with the New York Jets and joined the Arizona Cardinals for his final season in 2010.

He was named to the Pro Bowl every year from 2001 through 2009. Since retiring from

professional football, Mr. Faneca has been a tireless advocate for epilepsy research.

       Ben Hamilton played ten seasons in the NFL as an offensive lineman for the Denver

Broncos from 2001 until 2009, and for the Seattle Seahawks in 2010. He was a fourth-round

draft pick out of the University of Minnesota. He is currently a high school math teacher at a

private Christian high school in Colorado.

       Robert Royal played nine seasons in the NFL from 2002 until 2010 with the Washington

Redskins, Buffalo Bills, and Cleveland Browns. An All-SEC tight end at Louisiana State

University, Mr. Royal averaged nearly ten yards per reception over the course of his NFL career.



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Mr. Royal now serves as CEO of the Robert Royal Foundation, an organization he founded to

promote childhood health, fitness, and education and to combat youth violence. Mr. Royal is

also involved in several private equity ventures.

       Roderick “Rock” Cartwright played ten seasons in the NFL after a stellar collegiate

career at Kansas State University. A fullback and kick return specialist, Mr. Cartwright played

with the Washington Redskins from 2002 until 2009 and the Oakland Raiders from 2010 until

2011. In 2006, Mr. Cartwright amassed 1,541 kick-off return yards, setting a Redskins record.

Since retiring from the NFL, Mr. Cartwright has actively involved himself in charity work,

volunteering at a summer sports camp hosted by the Robert Royal Foundation, among others.

Mr. Cartwright is also a manager with Cartwright Energy Partners LLC, an oil production

development firm.

       Jeff Rohrer, a second-round draft pick out of Yale University, played seven seasons in

the NFL with the Dallas Cowboys from 1982 until 1989. An outside linebacker, Mr. Rohrer

received All-Ivy League honors and was the Cowboys’ second- and third-leading tackler in 1986

and 1987, respectively.    Since retiring from the NFL, Mr. Rohrer has worked in the film

industry. He is currently a partner and executive producer at Recommended, a Los Angeles-

based production company.

       Sean Considine played eight seasons in the NFL as a strong safety and on special teams

from 2005 until 2012. After attending the University of Iowa, Mr. Considine was drafted by the

Philadelphia Eagles and played four seasons with them and then two seasons with the

Jacksonville Jaguars. In 2011, he signed with the Carolina Panthers, finishing that season with

the Arizona Cardinals. Mr. Considine joined the Baltimore Ravens in 2012, earning a Super




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Bowl ring. Since retiring from professional football, Mr. Considine has been active with

numerous charities in his hometown and recently became a small business owner.

       Since leaving the NFL, Objectors each have experienced one or more of a wide range of

symptoms linked to repetitive mild traumatic brain injury (“MTBI”), including a sensitivity to

noise, visuospatial issues, visual impairment, chronic pain, executive function deficit, episodic

depression, mood and personality changes, chronic headaches, dysnomia, a decreased ability to

multi-task, peripheral nerve dysfunction (numbness, burning, and/or tingling), cervical spinal

disorders, sleep dysfunction, attention and concentration deficits, short- and long-term memory

deficits, and somatic disorders. Additionally, under certain circumstances some of the Objectors

also have experienced a decreased ability to interpret, regulate, express, or control complex

emotions.    These precise conditions have been associated with CTE and may broaden or

intensify.

       Although the Objectors’ claims for their injuries would be released by the Revised

Settlement, none would qualify for any relief under the settlement beyond participation in the

Baseline Assessment Program (“BAP”). And the BAP – which measures cognitive deficits such

as memory impairment and loss of attention – does not even screen for many of the Objectors’

neurobehavioral conditions or neuropsychiatric presentations.

II.    The Class Action Complaint

       The Class Action Complaint defines a class consisting of all living, retired NFL Football

Players who have retired from the NFL before preliminary approval of the proposed settlement

agreement as well as representatives of retired NFL players who have died or become legally

incapacitated. Turner v. Nat’l Football League, Civ. A. No. 2:14-cv-29-AB, Dkt. No. 1 ¶¶ 1, 16

(E.D. Pa. Jan. 6, 2014) (“Complaint”). It further defines NFL Football Players to include not just

players in the NFL and its member clubs but also players in the American Football League,
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which merged with the NFL, and the NFL Europa League. Id. ¶ 1.3 The class also includes

spouses, parents, dependent children, and any other person who under state law may sue the NFL

by virtue of his or her relationship with the retired player. Id.

       The Complaint divides the class into two sub-classes. Subclass 1 consists of all retired

players (and their representative and derivative claimants) who “were not diagnosed with

dementia, Alzheimer’s Disease, Parkinson’s Disease, ALS and/or Death with CTE prior to the

date of the Preliminary Approval and Class Certification Order.” Id. ¶ 17(a). Subclass 2

consists of all retired players (and their representative and derivative claimants) who “were

diagnosed with dementia, Alzheimer’s Disease, Parkinson’s Disease, ALS and/or Death with

CTE prior to the date of the Preliminary Approval and Class Certification Order.” Id. ¶ 17(b).

Subclass 2 also includes the representative and derivative claimants of retired players “who died

before Preliminary Approval” of the settlement and who “received a post-mortem diagnosis” of

Death with CTE. Id.

       The Complaint names Shawn Wooden and Kevin Turner as the Representative Plaintiffs

for the class. Mr. Wooden represents Subclass 1. Compl. ¶ 17(a). A safety, Mr. Wooden

played in the NFL from 1996 until 2004 with the Miami Dolphins and the Chicago Bears. Id.

¶ 4. He is alleged to have “experienced” unspecified “neurological symptoms” but “has not

been diagnosed with any neurocognitive impairment.” Id. The Complaint states that Mr.

Wooden has an “increased risk of developing dementia, Alzheimer’s, Parkinson’s, or ALS.” Id.

Mr. Wooden does not plead an increased risk of developing CTE. Id. Mr. Turner represents

Subclass 2. Id. ¶ 17(b). A running back, Mr. Turner played in the NFL from 1992 until 1999


3
 The settlement class also includes players in the World League of American Football and the
NFL Europe League, both predecessors to NFL Europa. Compl. ¶ 1.


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with the New England Patriots and the Philadelphia Eagles. Id. ¶ 7. He was diagnosed with

ALS in 2010. Id.

       The Complaint alleges that the NFL voluntarily undertook a duty to inform its players of

the risks resulting from repeated concussive and sub-concussive head impacts and to provide its

players with advice concerning the treatment and prevention of head injuries. Compl. ¶¶ 128-

199. It alleges that the NFL not only performed this task negligently, but also purposefully

spread misinformation to conceal from its players the risks of repetitive head trauma. Id. Not

only did the NFL’s concealment delay players from seeking and receiving adequate medical

treatment for the injuries they sustained while playing, id. ¶ 285, the NFL’s behavior caused

players to incur an increased, additional incremental risk of permanent brain damage with every

mismanaged concussion, id. ¶ 384.

       The Complaint also pleads a causal connection between football and neurodegenerative

disease. Compl. ¶¶ 54-88. It identifies several studies demonstrating that the repeated head

injuries or concussions sustained during an NFL player’s career cause severe neurological

problems such as depression, dementia, and other neurodegenerative diseases. Id.4 It alleges the

NFL’s knowledge of these studies and the link between MTBI and neurodegenerative disease,

describing the NFL’s efforts to intentionally conceal and cover up these dangers. Id. ¶¶ 89-199.

Specifically, the Complaint alleges that in 1994 the NFL established a committee of experts to

study brain injury in football (the MTBI Committee), which published reports and reached



4
  Indeed, at least one study has “confirm[ed] the presence of acute pathological changes in the
brain that can occur from . . . blows to the head that are below the threshold for producing what
behaviorally would be classified as a concussion.” Erin D. Bigler, Neuropsychology and
Clinical Neuroscience of Persistent Post-Concussive Syndrome, 14 J. Int’l Neuropsychological
Soc’y 1, 7 (2008).


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conclusions inconsistent with the weight of scientific evidence and which concealed from players

the true risks of continued head trauma. Id. ¶¶ 128-199.

         Complaints filed against the NFL in other courts have also alleged that the NFL’s actions

exacerbated the injuries that players sustained while playing football.          For example, the

complaint in Finn v. National Football League describes the routine pre-game mass admin-

istration of Toradol, a blood-thinning pain-killer, to players without their informed consent

regarding the health risks of the drug. Complaint, Finn v. Nat’l Football League, No. 2:11-cv-

07067-JLL-MAH, ¶¶ 135-143 (D.N.J. Dec. 8, 2011) (Dkt. 4) (“Finn Compl.”). Toradol’s use

typically is limited to the surgical setting, and several European countries have banned it. Sally

Jenkins & Rick Maese, Pain and Pain Management in NFL Spawn a Culture of Prescription

Drug Use and Abuse, The Washington Post (Apr. 13, 2013);5 see also United Nations

Department of Economic and Social Affairs, Consolidated List of Products Whose Consumption

and/or Sale Have Been Banned, Withdrawn, Severely Restricted or Not Approved by

Governments 156-57 (2005) (entry for ketorolac).6

         Because Toradol has blood-thinning properties, it is contraindicated for “patients . . . at

high risk of bleeding” and presents an increased risk of stroke. Finn Compl. ¶ 137; see also

Roche, FDA-Mandated Warning Label for Toradol, at 1-2.7 On top of those risks, Toradol

“mask[s] pain” and “prevent[s] the feeling of injury,” Finn Compl. ¶¶ 135, 140, which makes it

more likely that a player will report that he feels no or little pain from a precise trauma and then


5
   Available at http://www.washingtonpost.com/sports/redskins/pain-and-pain-management-in-
nfl-spawn-a-culture-of-prescription-drug-use-and-abuse/2013/04/13/3b36f4de-a1e9-11e2-bd52-
614156372695_story.html.
6
    Available at http://www.un.org/esa/coordination/CL12.pdf.
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    Available at http://www.accessdata.fda.gov/drugsatfda_docs/label/2013/019645s019lbl.pdf.


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return to play. Because “a prior concussion increases the likelihood of a second concussion,”

Bigler, supra, at 8, the routine administration of Toradol compounded the risk that players would

suffer multiple instances of head trauma in a single game or practice.8 The Objectors include

players who have received those Toradol injections.

       The Complaint specifically identifies several long-term injuries arising from MTBI,

“including, but not limited to memory loss, dementia, Alzheimer’s Disease, Parkinson’s Disease,

ALS, depression, and CTE and its related symptoms.” Compl. ¶ 127 (emphasis added). “CTE

is the long-term neurological consequence of repetitive mild TBI.”        Barry D. Jordan, The

Clinical Spectrum of Sport-Related Traumatic Brain Injury, 9 Nature Reviews Neurology 222,

225 (2013). The condition results from the build-up in the brain of mis-folded tau protein. Neal

Emery, How to Diagnose a Battered Brain Before It’s Too Late, The Atlantic (May 8, 2012);9

A.C. McKee et al., The Spectrum of Disease in Chronic Traumatic Encephalopathy, 136 Brain:

A Journal of Neurology 43, 45 (2012) (“McKee 2012”). More extensive tau build-up indicates a

more advanced stage of CTE. Jordan, supra, at 227 (Box 5).

       While a devastating medical condition, CTE is not readily diagnosed absent a post-

mortem brain autopsy. Jordan, supra, at 226. Scientific advances, however, are making it

possible to detect CTE earlier.10 Researchers in Chicago, for example, are developing a CTE

screening test that relies on irregularities in vision, eye movements, and retinal/optic nerve



8
  A prior concussion also results in a “greater morbidity of the second concussion.” Bigler,
supra, at 8.
9
  Available at http://www.theatlantic.com/health/archive/2012/05/how-to-diagnose-a-battered-
brain-before-its-too-late/256877/.
10
  See Emery, supra (noting “pilot studies show promise for [using] diagnostic MRI and MRS
scans [to diagnose CTE] as brain imaging technology improves”).


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structure as indicators of CTE.11 And a number of different research teams are developing bio-

markers that highlight the tau protein tangles responsible for CTE using conventional diagnostic

imaging technology.12 Thus, long before the Revised Settlement concludes its 65-year term, it is

likely that a large number of class members will have received a diagnosis of CTE before they

die. That diagnosis will not entitle them to any compensation under the Revised Settlement.

          Even with current technology, doctors can identify likely cases of CTE based on other

neurocognitive symptoms that display during an individual’s lifetime and that correlate with a

post-mortem diagnosis of CTE.         Among others, these presentations include: aggression,

agitation, impulsivity, depression, suicidality, impaired attention or concentration, memory

problems, executive dysfunction, dementia, and language impairment. Written Testimony of Dr.

Robert Stern before the Senate Special Committee on Aging, at 4-5 (June 25, 2014) (“Stern

Testimony”);13 Jordan, supra, at 226; McKee 2012, supra, at 52, 55-56, 58-59; Ann C. McKee et

al., Chronic Traumatic Encephalopathy in Athletes: Progressive Tauopathy After Repetitive

Head Injury, 68 J. Neuropathology & Experimental Neurology 709, 710 (2009) (“McKee 2009);

Christine M. Baugh et al., Chronic Traumatic Encephalopathy: Neurodegeneration Following

Repetitive Concussive and Subconcussive Brain Trauma, Brain Imaging and Behavior, 3 (May 3,

11
   Dan McGrath, Illinois Eye Institute Project Aims to Identify CTE in the Living, Chicago Sun-
Times (June 14, 2014 4:35 PM), http://www.suntimes.com/sports/28048920-419/illinois-eye-
institute-project-aims-to-identify-cte-in-the-living.html#.U6CR0fldV8E.
12
   E.g., Kyle Wagner, Can Science See Inside an NFL Player’s Skull Before It’s Too Late?,
Deadspin (June 21, 2012 9:00 AM), http://regressing.deadspin.com/5920006/can-science-see-
inside-an-nfl-players-skull-before-its-too-late; M. Maruyama et al., Imaging of Tau Pathology in
a Tauopathy Mouse Model and in Alzheimer Patients Compared to Normal Controls, 79 Neuron
1094 (2013); Mark Hollmer, Alzheimer’s Diagnosis May Gain from PET Imaging of Tau
Proteins, FierceDiagnostics (Sept. 20, 2013), http://www.fiercediagnostics.com/story/
alzheimers-diagnosis-may-gain-pet-imaging-tau-proteins/2013-09-20; William Jagust, Time for
Tau, 137 Brain: A Journal of Neurology 1570 (2014).
13
     Available at http://www.aging.senate.gov/imo/media/doc/Stern_6_25_14.pdf.


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2012); Robert A. Stern et al., Clinical Presentation of Chronic Traumatic Encephalopathy, 81

Neurology 1122, 1126 (2013). While some of those conditions appear more pronounced in

advanced Stage III and Stage IV CTE, suicidality presents at all stages. McKee 2012, supra, at

49-51 (Table 2), 55-56, 58-59.14

        Studies to date have suggested an alarming number of NFL players will be afflicted with

CTE. Of the 34 deceased NFL retirees whose brains have been tested for CTE, 33 had the

disease. McKee 2012, supra, at 59.15 Of those 33, nearly half showed signs of Stage III or Stage

IV CTE – CTE’s two most severe stages. Id. And almost all of these players – 94% – were

symptomatic during their lifetimes. Id. The most common symptoms were short-term memory

loss, executive dysfunction, and attention and concentration problems. Id.

III.    The Initial Settlement

        In August 2013, the court-appointed mediator informed the Court that Class Counsel and

NFL Defendants would globally settle all claims arising from the NFL’s fraudulent and

misleading conduct relating to the effects of MTBI. See Dkt. No. 5235. In a press release

announcing the settlement, the mediator explained that the settlement called for a $675 million

14
   Junior Seau and Dave Duerson – two prominent former NFL players – committed suicide by
shooting themselves in the heart to preserve their brains for study. See Nathaniel Penn, The
Violent Life and Sudden Death of Junior Seau, GQ Magazine (Sept. 2003),
http://www.gq.com/entertainment/sports/201309/junior-seau-nfl-death-concussions-brain-injury;
Paul Solotaroff, Dave Duerson: The Ferocious Life and Tragic Death of a Super Bowl Star,
Men’s Journal (May 2011), available at http://www.mensjournal.com/magazine/dave-duerson-
the-ferocious-life-and-tragic-death-of-a-super-bowl-star-20121002. Before committing suicide,
Seau battled insomnia, headaches, dizziness, and other conditions linked to CTE. Penn, supra.
Like Seau, Duerson also showed signs of CTE before his suicide, which manifested as “starburst
headaches,” blurred vision, and short-term memory deficits. Solotaroff, supra.
15
   Media reports suggest that 54 brains of retired NFL players have been examined for CTE. Of
those, 52 showed signs of the disease. Steve Fainaru & Mark Fainaru-Wada, Some Players May
Be      Out     of   NFL       Deal,     ESPN.com       (Sept.    20,     2013    1:04   PM),
http://espn.go.com/chicago/story/_/id/9690036/older-players-cut-nfl-settlement-concerns-
growing-whether-enough-money-exists


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fund to “compensate former players who have suffered cognitive injury or their families,” among

other terms.16        The fund was to compensate “severe cognitive impairment, dementia,

Alzheimer’s, [and] ALS.”17 “The precise amount of compensation,” the mediator stated, “will

be based upon the specific diagnosis, as well as other factors including age, number of seasons

played in the NFL, and other relevant medical conditions.”18 Neither Class Counsel nor the

mediator ever suggested that the settlement would compensate only those few cases of CTE

detected before preliminary approval of the settlement, to the exclusion of all future cases.19

            Five months later, on January 6, 2014, Class Counsel for the first time publicly revealed

the specific terms of the settlement when they filed their first motion for preliminary approval.

See Dkt. No. 5634. Notwithstanding the breadth of afflictions linked to MTBI, that settlement

compensated only a limited number of diseases and limited total class-wide compensation for

those injuries to $675 million.20 See Dkt. No. 5634-2 §§ 23.1-23.5. ALS claimants were to

receive a maximum award of $5 million. See id. at Ex. 3. Retired players diagnosed with

Parkinson’s Disease or Alzheimer’s Disease were to receive a maximum $3.5 million award. Id.

And class members exhibiting Level 2 or Level 1.5 dementia were to receive at most $3 million

or $1.5 million, respectively. Id. The full written initial settlement also revealed that – contrary

to previous public statements from Class Counsel – it would compensate cases of CTE with a

16
   Press Release, NFL, Retired Players Resolve Concussion Litigation, Irell & Manella LLP,
http://static.nfl.com/static/content/public/photo/2013/08/29/0ap2000000235504.pdf.
17
     Id.
18
     Id.
19
   Id.; Associated Press, NFL, Ex-Players Agree to $765M Settlement in Concussions Suit,
NFL.com (Aug. 29, 2013 12:42 PM), http://www.nfl.com/news/story/0ap1000000235494/article/
nfl-explayers-agree-to-765m-settlement-in-concussions-suit
20
  Calling it a $675 million fund was not, in fact, accurate. It was a $300 million fund paid over
two years, with another $375 million paid over 17 years. See Dkt. No. 5634-2 §§ 23.1-23.5.


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maximum $4 million award only if the retired player died before preliminary approval of the

settlement. See Dkt. No. 5634-2 §§ 2.1(xxx), 6.3 & Ex. 1 ¶ 5.21 Players suffering from CTE who

would be diagnosed or who died after that date were to receive nothing. Moreover, players

suffering from the clinical presentations of CTE were to receive no compensation under the

settlement unless they independently qualified for compensation through one of the other

specified diseases. Id. § 6.3.

       The initial settlement also created a Baseline Assessment Program (“BAP”) that would

have provided class members the opportunity to undergo a baseline assessment examination,

which would establish the class member’s baseline neurocognitive functioning and screen for

dementia and neurocognitive impairment.        Dkt. 5634-2 § 5.2.     Class members who were

diagnosed with Level 1 dementia in the baseline assessment examination would be entitled to

supplemental benefits that would cover the costs of medical treatments related to the dementia.

Id. §§ 5.2, 5.11. The term of the BAP was to last ten years, but class members receiving

supplemental benefits would continue to do so for up to five years beyond that ten-year term. Id.

§§ 5.5, 5.11. The initial settlement capped the BAP Fund at $75 million. Id. §23.3(g).

       On January 14, 2014, this Court, sua sponte, denied Class Counsel’s motion for

preliminary approval of the settlement, declining to find that the settlement “has no obvious

deficiencies, grants no preferential treatment to segments of the class, and falls within the range

of possible approval.” In re Nat’l Football League Players’ Concussion Injury Litig., 961 F.

Supp. 2d 708, 715 (E.D. Pa. 2014) (“NFL Concussion”) (quotation marks omitted). Instead, the

Court recognized that the “Monetary Award Fund may lack the necessary funds to pay Monetary


21
   Compensation for CTE is further limited by the Revised Settlement’s exclusion of
compensation for most class members who died before 2006. Revised Settlement § 6.2(b).


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Awards for Qualifying Diagnoses” and “[a]s a first step toward preliminary approval” “order[ed]

the parties to share the [actuarial and economic] documentation” relied upon during settlement

“with the Court through the Special Master.” Id. at 715-16 (emphasis added).22

       Following the Court’s denial of preliminary approval, Objectors moved to intervene. See

Dkt. No. 6019. They explained that their interests were not adequately represented during the

negotiation of the initial settlement, in part, because that settlement arbitrarily denied

compensation to individuals whose CTE went undetected until after preliminary approval.

Because each Objector exhibits MTBI-related conditions that are also symptoms of CTE, each is

at risk of developing CTE but – even though the settlement awarded $4 million to the families of

players who died with CTE before final approval of the settlement – they and their families

would receive nothing. Id. at 13-18. In opposing the motion to intervene, Class Counsel ignored

this fact entirely, offering no explanation for the disparate treatment of CTE claimants. See Dkt.

No. 6046. Objectors also criticized the 75% offset imposed on any player who suffers a single

stroke or a single instance of non-football related traumatic brain injury (“TBI”). Dkt. 5634-2

§ 6.5(b)(ii)-(iii). Such a player would recover only 25% of what he is otherwise entitled to

receive under the settlement. Again, Class Counsel’s opposition was devoid of any explanation

for this offset. See Dkt. No. 6046. Objectors noted other defects in the initial settlement and

other class members voiced criticism as well.23


22
   Class Counsel never fully informed the class about whether they complied. The most
assurance they have given to this effect is that they have “made concerted efforts to evaluate this
Court’s directives and address them in a fruitful and productive manner.” Dkt. 6046 at 10.
23
   See, e.g., Dkt. Nos. 5686, 5771; Steve Almond, The NFL Gets Off Easy in Concussion
Settlement, The Boston Globe (June 27, 2014), available at http://www.bostonglobe.com/opinion
/2014/06/26/the-nfl-gets-off-easy-concussion-settlement/PUFYxln6dFqlOdbe6wnhzJ/story.html;
Steve Fainaru & Mark Fainaru-Wada, Some Players May Be Out of NFL Deal, ESPN Outside
the Lines (Sept. 20, 2013 1:04 pm), available at http://espn.go.com/espn/otl/story/_/id/9690036


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IV.    The Revised Settlement

       Notwithstanding those criticisms of the initial settlement, Class Counsel on June 25, 2014

submitted a revised settlement agreement that retained the same structure, and almost all of the

key provisions of the initial settlement. See Dkt. No. 6073-2 (“Revised Settlement”). Class

Counsel moved for preliminary class certification and for preliminary approval of the Revised

Settlement. See Dkt. No. 6073.

       Like the initial settlement, the Revised Settlement compensates only the same limited

subset of diseases that have been linked to MTBI: ALS, Parkinson’s, Alzheimer’s, Level 2

dementia, and Level 1.5 dementia. Revised Settlement Ex. B-3. It also retains the maximum

compensation awards provided for each of these diseases in the initial settlement. Id. And like

the initial settlement, the Revised Settlement compensates cases of CTE with $4 million, but

only if the claimant dies before preliminary approval of the settlement agreement. Revised

Settlement §§ 2.1(yyy), 6.2(a) (providing compensation for a “Qualifying Diagnosis”); id. Ex. B-

1 at 5.24 Unlike its predecessor, the Revised Settlement does not cap total compensation for

ALS, Parkinson’s, Alzheimer’s, and Levels 1.5 and 2 dementia, but it retains the $75 million cap

on the BAP Fund. See Dkt. 6073-5 at 4 (“Mem.”).


/older-players-cut-nfl-settlement-concerns-growing-whether-enough-money-exists; Scott Fujita,
Mixed Feelings Over N.F.L. Concussion Settlement, N.Y. Times (Sept. 2, 2013), available at
http://www.nytimes.com/2013/09/03/sports/football/mixed-feelings-over-nfl-concussions-
settlement.html?pagewanted=all&_r=0; Don Banks, Former Players: Devil Is in the Details
with NFL Concussion Settlement, SI.com (Aug. 23, 2013), available at http://www.si.com
/nfl/2013/08/29/nfl-concussion-lawsuit-settlement-player-reaction-kevin-mawae.
24
   Section 6.2(a) of the Revised Settlement provides compensation for any “Qualifying
Diagnosis.” Section 2.1(yyy) defines “Qualifying Diagnosis” to include “Death with CTE.”
Exhibit B-1 defines “Death with CTE” as follows: “For Retired NFL Football Players who died
prior to the date of the Preliminary Approval and Class Certification Order, a post-mortem
diagnosis of CTE made by a board-certified neuropathologist.” Revised Settlement Ex. B-1 at 5
(emphasis added).


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       The Revised Settlement still has a series of offsets that reduce a claimant’s compensation.

Most notably, without explanation, the Revised Settlement retains the 75% offset for a single

stroke or a single TBI. Id. § 6.7(b)(ii)-(iii). Additionally, class members who played fewer

“Eligible Seasons” in the NFL receive only a percentage of the maximum award for their

condition.   See Revised Settlement § 6.7(b)(i).    Although class members receive “Eligible

Season” credit for service on “practice, developmental, or taxi squad[s],” time spent playing for

NFL Europe or NFL Europa (collectively, “NFL Europe”) does not apply to the “Eligible

Season” determination. Id. §§ 2.1(kk), 6.7(c)(1). Similarly, class members who are older at the

time of the Qualifying Diagnosis receive only a percentage of the maximum award for their

condition. See Revised Settlement § 6.7(b) & Ex. B-3.

       A complex series of administrative procedures governs the distribution of benefits. Class

members must register with the Claims Administrator within 180 days of Settlement Class

Supplemental Notice.     Revised Settlement § 4.2(c).     Failure to do so renders the player

completely ineligible for any benefits, yet the release would be binding. Id. Additionally, the

undiagnosed players in Subclass 1 must undergo the baseline assessment examination to receive

the full award; failure to undergo the examination results in a 10% reduction in benefit. Id.

§§ 5.4, 6.7(b)(iv).   The Baseline Assessment Program itself imposes a series of deadlines.

Players aged 43 and older must obtain the BAP examination within two years after the BAP

commences; younger players must do so by the earlier of their 45th birthday or the BAP’s tenth

year. Id. § 5.3. Both the NFL and claimants may appeal adverse claim determinations. Id.

§§ 9.5-9.7. The initial settlement limited the NFL to ten appeals per year, but the Revised

Settlement allows unlimited appeals by the NFL. Compare Dkt. No. 5634-2 § 9.6(b) with




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Revised Settlement § 9.6(b). Claimants – but not the NFL – must pay a $1,000 fee to docket an

appeal. Revised Settlement § 9.6(a). The fee is refunded if the appeal is successful. Id.

       The Revised Settlement broadly releases all MTBI-related claims of every class member

who does not opt out, including claims of class members who played in NFL Europe and its

predecessors. Class members:

       waive and release . . . any and all past, present and future claims, counterclaims,
       actions, rights or causes of action . . . in law or in equity . . . known or unknown,
       suspected or unsuspected, foreseen or unforeseen, matured or unmatured, accrued
       or unaccrued, liquidated or unliquidated [that any settling plaintiff ] had, has, or
       may have in the future arising out of, in any way relating to or in connection with
       the allegations, transactions, facts, matters, occurrences, representations or
       omissions involved, set forth, referred to or relating to the Class Action Complaint
       and/or Related Lawsuits . . . .

Revised Settlement § 18.1(a). The Revised Settlement states that the claims it releases include,

among others, claims “arising out of, or relating to . . . head, brain and/or cognitive injury, as

well as any injuries arising out of, or relating to, concussions and/or subconcussive events . . . of

whatever cause” and claims “arising out of, or relating to, CTE.” Id. § 18.1(a)(i), (iv), (vi). The

settlement’s release also requires class members to acknowledge that they “explicitly took

unknown or unsuspected claims into account in entering into the Settlement Agreement and it is

the intention of the Parties fully, finally and forever to settle and release all Claims” falling

within the scope of the allegations in the Complaint and related lawsuits. Id. § 18.2.

       The Revised Settlement calls for a $112.5 million attorneys’ fee, which the NFL

Defendants have agreed not to oppose. Revised Settlement § 21.1. It also authorizes Co-Lead

Class Counsel to “petition the Court to set aside up to five percent (5%) of each Monetary Award

. . . to facilitate the Settlement program and related efforts of Class Counsel.” Id. The initial




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settlement did not contain this set-aside provision. Compare id. with Dkt. No. 5634-2 § 21.1.25

The Revised Settlement places no limits on how Co-Lead Class Counsel may use the set aside.

                                          ARGUMENT

       To receive preliminary approval of a proposed class settlement, Class Counsel must first

demonstrate the existence of a certifiable class. See In re Gen. Motors Corp. Pick-Up Truck

Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 794 (3d Cir. 1995), cert. denied 516 U.S. 824 (1995)

(denying approval of settlement where class not certifiable). Second, Class Counsel must proffer

a settlement that “discloses [no] grounds to doubt its fairness . . . and appears to fall within the

range of possible approval.” In re Nat’l Football League Players Concussion Injury Litig., 961

F. Supp. 2d 708, 714 (E.D. Pa. 2014) (quotation marks omitted) (“NFL Concussion”); see also

Fed. R. Civ. P. 23(e) (class settlement may be approved only if “it is fair, reasonable, and

adequate”). In assessing whether a settlement “discloses grounds to doubt its fairness,” the Court

must consider whether: (1) the negotiations occurred at arm’s length, (2) there was sufficient

discovery, (3) the proponents of the settlement are experienced in similar litigation, and (4) the

class substantially favors the settlement. NFL Concussion, 961 F. Supp. 2d at 714.

       If the proposed settlement appears to be the product of informed negotiations, contains no

obvious deficiencies, does not improperly give preferential treatment to certain class members,

and falls within the range of possible approval, preliminary approval will be granted. See

Manual for Complex Litigation § 21.61 (4th ed. 2004). Conversely, if “the proposed settlement

discloses grounds to doubt its fairness . . . such as unduly preferential treatment of class


25
  The NFL Defendants have taken no position on the propriety of the set aside, noting that “any
such proposed set aside application is a matter strictly between and among Settlement Class
Members, Class Counsel, and individual counsel for Settlement Class Members.” Revised
Settlement § 21.1.


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representatives or segments of the class, or excessive compensation of attorneys,” and does not

“appear[] to fall within the range of possible approval,” preliminary approval will be denied.

NFL Concussion, 961 F. Supp. 2d at 714 (quotation marks omitted); see, e.g., Mehling v. N.Y.

Life Ins. Co., 246 F.R.D. 467, 472 (E.D. Pa. 2007).

I.     The Proposed Class Contains Internal Conflicts Rendering It Uncertifiable

       Class Counsel have not put forth a certifiable class. Rule 23 plainly states, “one or

members of a class may sue or be sued as representative parties on behalf of all members only if:

. . . (4) the representative parties will fairly and adequately protect the interests of the class.”

Fed. R. Civ. P. 23(a)(4). The proposed class fails this requirement.

       The “linchpin of the adequacy requirement is the alignment of interests and incentives

between the representative plaintiffs and the rest of the class.”          Dewey v. Volkswagen

Aktiengesellschaft, 681 F.3d 170, 183, 187-88 (3d Cir. 2012) (emphasis added) (denying

preliminary class certification where interests of representative plaintiffs and absent class

members diverged). Thus, “adversity among subgroups” – an intra-class conflict – requires that

the class not be certified. Amchem v. Windsor Prods. Inc., 521 U.S. 591, 627 (1997) (quotation

marks omitted) (denying class certification where conflict existed between present and future

claimants).

       When assessing the adequacy of representation, “a judge must focus on the settlement’s

distribution terms (or those sought) to detect situations where some class members’ interests

diverge from those of others in the class.” GM Trucks, 55 F.3d at 797 (finding representation

inadequate where settlement terms preferred some class members over others).              Thus, “a

settlement that offers considerably more value to one class of plaintiffs than to another may be

trading the claims of the latter group away in order to enrich the former group.” Id. “Offer[ing]



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considerably more value to one class of plaintiffs” is precisely what the Revised Settlement does

here.

         The Revised Settlement suffers from at least three intra-class conflicts that preclude

preliminary certification. First, the Revised Settlement arbitrarily limits compensation for CTE

– a disease that neither Representative Plaintiff claims to be at increased risk of developing – to

individuals who died before preliminary approval of the settlement. Class members whose CTE

is discovered in the future receive nothing. The settlement also does not compensate Objectors’

MTBI-related afflictions, many of which are potential indicators of CTE, and none of which the

Representative Plaintiffs claim to suffer. Second, the Revised Settlement reduces a claimant’s

award by 75% if (i) the claimant has suffered a stroke, even though the NFL Defendants’ own

conduct in administering Toradol increased some Objectors’ risk of stroke, or (ii) the claimant

has suffered a single TBI, even though one TBI is dwarfed by the dozens of diagnosed and

undiagnosed TBIs that the retired NFL player received while playing in the NFL. Third, the

settlement class includes veterans of NFL Europe, but the Revised Settlement does not credit

seasons played in that league as “eligible seasons.”

         A.     The Revised Settlement          Leaves     Many     Injured    Class    Members
                Uncompensated

         The Revised Settlement compensates only a small subset of MTBI-related injuries to the

exclusion of all others, creating conflict between the interests of those who suffer from

compensated injuries and those whose injuries go without relief. See Dewey, 681 F.3d at 183,

187-88 (denying class certification where settlement terms preferred some class members over

others). As a result of their NFL careers, Objectors suffer from a range of significant medical

conditions: visuospatial difficulties, executive function deficit, chronic headaches, dysnomia,

decreased emotional stability, increased impulsivity, and attention and concentration deficits.


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None of these conditions receives compensation or medical treatment under the settlement. The

failure to compensate or treat these afflictions is made more notable by Co-Lead Class Counsels’

own recognition of the links between MTBI and these uncompensated conditions. See, e.g.,

Compl. ¶ 127 (noting “MTBI can and does lead to long-term brain injury, including, but not

limited to, memory loss, dementia, Alzheimer’s Disease, Parkinson’s Disease, ALS, depression,

and CTE and its related symptoms.” (emphasis added)); Finn Compl. ¶¶ 36, 100-145.26

          The disparate – and arbitrary – treatment of class members suffering from these

uncompensated afflictions is particularly stark in light of the Revised Settlement’s framework for

compensating CTE. The uncompensated conditions afflicting Objectors are among the well-

documented symptoms of CTE. McKee 2012, supra, at 60; Jordan, supra, at 226-27.27 And

while CTE found in a retired player who died on the eve of preliminary approval calls for a $4

million payment under the Revised Settlement, that same condition goes uncompensated if the

player dies one day later, after preliminary approval. That is because the settlement defines

“qualifying diagnosis” to include “a post-mortem diagnosis of CTE” only “[f]or Retired NFL

Football Players who died prior to the date of the Preliminary Approval and Class Certification

Order.” Revised Settlement Ex. B-1 ¶ 5; see also Revised Settlement ¶¶ 2.1(yyy), 6.3(a).28

Thus, former players like Objectors who currently are managing the cumulative effects of MTBI

– many of which are consistent with the presentation of CTE – would have received no

compensation and would continue bearing their medical costs even if their condition progressed

to full-blown CTE.

26
     Co-Lead Class Counsel is one of the attorneys representing the plaintiffs in Finn.
27
     See Stern Testimony, supra.
28
   These terms remain unchanged from the initial settlement notwithstanding Objectors’ Motion
to Intervene, which shouted this deficiency to Class Counsel.


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         That limitation on CTE compensation is remarkable: Given that 33 of the 34 deceased

NFL players whose brains have been examined for CTE have been diagnosed with the condition,

one of the lead CTE researchers has wondered whether “every single football player doesn’t

have” CTE.29 By contrast, one study examining NFL retirees who played at least five seasons

between 1959 and 1988 recorded seven cases of ALS, seven cases of Alzheimer’s, and three

cases of Parkinson’s in 3,439 retired players. National Institute for Occupational Safety and

Health, Brain and Nervous System Disorders Among NFL Players (Jan. 2013).30                     Yet

notwithstanding the widespread prevalence of CTE among NFL retirees, the settlement provides

no compensation to players with CTE who die after preliminary approval of the settlement –

likely a large percentage of the 20,000-member putative class.31 Co-Lead Class Counsel have

never explained or justified the basis for such a stark difference in treatment among players

suffering from the exact same MTBI-related condition, even after Objectors identified this

deficiency in their Motion to Intervene.32


29
     Frontline, transcript of League of Denial: The NFL’s Concussion                         Crisis,
http://www.pbs.org/wgbh/pages/frontline/sports/league-of-denial/transcript-50/.
30
     Available at http://www.cdc.gov/niosh/pgms/worknotify/pdfs/NFL_Notification_02.pdf.
31
   In theory, a retired player suffering from CTE could receive compensation through an
independent qualifying diagnosis of, for example, Level 1.5 dementia. But dementia does not
always accompany the injuries that Objectors have suffered and not all cases of CTE exhibit
dementia. In one study, for example, no individual presenting with Stage I or II CTE showed
signs of dementia despite showing symptoms similar to those that Objectors are experiencing.
McKee 2012, supra, at 52, 55. Even several players with advanced stages of CTE were not
considered cognitively impaired. Id. at 56 (noting 25% of the individuals diagnosed with stage
III CTE were not considered cognitively impaired). Indeed, it seems apparent from what is
known about the behavior and symptoms of some deceased football players found to have CTE,
such as Junior Seau and Dave Duerson, that at least some (and perhaps many) of those deceased
players would not have qualified for compensation at all had they not died before preliminary
approval of the settlement.
32
   The decision to compensate all ALS, Alzheimer’s, and Parkinson’s claims but not all CTE
claims certainly cannot be justified with reference to the relative severity of the diseases. As Dr.


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       The consequences of denying compensation to class members like the Objectors will

multiply over time. Many diseases linked to MTBI exhibit variable latency periods, meaning

that the symptoms of MTBI-related afflictions will present earlier in retirement for some former

NFL players than for others. Steven T. DeKosky et al., Traumatic Brain Injury – Football,

Warfare, and Long-Term Effects, The New England Journal of Medicine 1293, 1293-94 (2010).

As science advances, moreover, it is likely that MTBI will be shown to correlate with additional

diseases, and that CTE will be easily detectable before death. Yet the settlement provides no

flexibility for adding to the list of qualifying diseases, compensating new conditions, or

compensating pre-death diagnoses of CTE. See Revised Settlement § 6.6(c) (“In no event will

modifications be made to the Monetary Award levels in the Monetary Award Grid, except for

inflation adjustment(s).”).

       Indeed, the Revised Settlement anticipates relevant advances in science and medicine that

will allow more precise diagnosis of the effects of MTBIs – but only to disallow them.33 Class

members had a strong need for representatives who would have pressed for settlement

“provisions that can keep pace with changing science and medicine, rather than freezing in place

the science” known at the time of settlement. Amchem, 521 U.S. at 610-11 (holding class

representation inadequate where settlement did not account for the interests of class members

who may develop disease in the future); Georgine v. Amchem Prods., Inc., 83 F.3d 610, 630-31


Robert Stern explained to the Senate Committee on Aging, CTE causes one’s “life [to be]
destroyed by the progressive destruction of the brain.” Stern Testimony, supra, at 4.
33
   The Revised Settlement does not compensate a disease detected “through a blood test, genetic
test, imaging technique, or otherwise” that “has not yet resulted in actual cognitive impairment
and/or actual neuromuscular impairment.” Revised Settlement § 6.6(b). Thus, class members
cannot avail themselves of technological advances allowing for earlier detection of qualifying
diseases by using compensation under the settlement to fund preventive treatment that might
forestall the onset of “actual cognitive impairment.”


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(3d Cir. 1996) (finding class representation inadequate where conflict between currently injured

plaintiffs’ interest in maximizing current payouts and future plaintiffs’ interest in delaying opt-

out due to “changing science and medicine” and “difficulty in forecasting what their futures

hold”). That the Representative Plaintiffs did not do.

       In fact, the Representative Plaintiffs could not fulfill that role. Neither Representative

Plaintiff shares Objectors’ interest in securing compensation for all cases of CTE and other

MTBI-related conditions. Mr. Turner, who suffers from ALS, has a diagnosed medical condition

that specifically receives compensation under the Revised Settlement (and rightly so). Compl.

¶ 7 . But he was not poised to represent the interests of those who have suffered different

injuries and receive nothing under the settlement. Neither is Mr. Wooden. Objectors presently

exhibit MTBI-related injuries that are clinical indications of CTE. Mr. Wooden, by contrast, has

not alleged that he suffers from any MTBI-related affliction. Nor has he alleged that he is at

“[an] increased risk of developing” CTE, even though he does assert such a risk for dementia,

Alzheimer’s Disease, Parkinson’s Disease, and ALS. Compl. ¶ 4. Mr. Wooden’s interests

therefore lie in securing future compensation for those four afflictions, not in securing payment

for the Objectors’ conditions and for future cases of CTE.34

       Class Counsel’s discussion of the proposed subclasses thus misses the mark. See Mem.

52-53. Even if Mr. Wooden adequately represents the interests of Retired Players at risk of

developing ALS, Alzheimer’s, Parkinson’s, or dementia in the future, he cannot represent the

interests of Retired Players at risk of developing CTE in the future. Class Counsel has no


34
   Even if Mr. Wooden were to now report that he, too, suffers from the conditions affecting
Objectors or that he fears the onset of CTE, he cannot reliably represent those interests going
forward: He has abdicated any responsibility to those interests by advocating a proposed
settlement that ignores those injuries.


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response for that criticism. Mem. 52-53. For that reason, the subclasses do not ensure adequate

representation.   They do not “align[ ] [the] interests and incentives [of ] the representative

plaintiffs and the rest of the class.” Dewey, 681 F.3d at 183 (denying class certification where

interests of representative plaintiffs and absent class members diverged).

       Nor do Class Counsel offer any justification for the arbitrary treatment of CTE claimants

under the Revised Settlement. Instead, Class Counsel assert that the adequacy of representation

requirement is met because the Representative Plaintiffs’ “claims are co-extensive with those of

the absent Settlement Class Members” and because “[a]ll Settlement Class Members, like

Plaintiffs, share an interest in obtaining redress from the NFL Parties for their alleged negligence

and fraud.”   Mem. 51.     But “[t]o state that class members were united in the interest of

maximizing over-all recovery begs the question.” GM Trucks, 55 F.3d at 797.

       When assessing the adequacy of representation, “a judge must focus on the settlement’s

distribution terms (or those sought) to detect situations where some class members’ interests

diverge from those of others in the class.” GM Trucks, 55 F.3d at 797. Class Counsel do not

address any of the Revised Settlement’s distribution terms, except to state that “provid[ing] for

different levels of compensation for different impairments ‘is simply a reflection of the extent of

the injury that certain class members incurred and does not clearly suggest that class members

ha[ve] antagonistic interests.’ ” Mem. 52 (quoting In re Ins. Brokerage Antitrust Litig., 579 F.3d

241, 272 (3d Cir. 2009)). But whether a Retired Player with CTE dies before preliminary

approval or after, “the extent of [his] injury” is the same.35 Indeed, Class Counsel have never

attempted to identify a rationale for the disparate treatment that similarly situated CTE claimants


35
  That same rationale distinguishes Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1146 (8th Cir.
1999), and In re Serzone Prods. Liab. Litig., 231 F.R.D. 221, 239 (S.D. W. Va. 2005).


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receive under the Revised Settlement. Mem. 51-55; Dkt. No. 6046. On this point, the heavily

touted uncapped compensation fund is irrelevant – an uncapped fund means little to a claimant

whose injuries are not among those eligible for medical care, treatment, or fair compensation.

       B.      The 75% Offsets Also Create a Conflict Within the Class

       The Revised Settlement also imposes offsets that create an additional class conflict. See

Dewey, 681 F.3d at 183. The proposed settlement reduces a claimant’s award by 75% for a

single instance of non-football-related traumatic brain injury (“TBI”) or stroke.          Revised

Settlement § 6.5(b)(ii)-(iii). That 75% offset applies regardless of the severity of traumatic brain

injury that the player sustained while playing football. And it presumes that a single non-

football-related instance of TBI accounts for 75% of a player’s MTBI-related injuries, even

though that player may have sustained numerous diagnosed and undiagnosed head traumas

throughout his NFL career.36 That is both devoid of scientific justification and grossly unfair.

       Instances of stroke, moreover, should be compensated injuries, not offsets that reduce

recovery, because the NFL itself has increased the risk of stroke for Objectors and other class

members. See Finn Compl. ¶¶ 135-143. NFL-administered Toradol injections increased that

risk in two ways. First, as a pain-killer, Toradol masks injuries that players may have suffered,

encouraging their continued participation in the game and increasing the risk that a player would

suffer multiple instances of MTBI in one game. Second, MTBI suffered after a Toradol injection

occurs at a time when the cerebrovascular architecture of the brain is particularly weak. See


36
  The possibility that a class member will sustain an instance of non-football related TBI is not
remote. For example, the car insurance industry estimates that the average driver will be
involved in a car collision – which could qualify as a TBI that triggers the offset – once every 18
years. Des Toups, How Many Times Will You Crash Your Car?, Forbes (July 27, 2011 6:50
PM), http://www.forbes.com/sites/moneybuilder/2011/07/27/how-many-times-will-you-crash-
your-car/.


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Bigler, supra, at 8 (noting that “in TBI the same mechanisms that stretch the neuron can stretch

the blood vessel [which] may impair the neurogenic response of the blood vessel”). Toradol is a

powerful blood-thinner that increases the risk of stroke and micro-hemorrhaging in players under

Toradol’s effect. Finn Compl. ¶¶ 135-143; see also FDA-Mandated Warning Label, supra, at 1.

       Large groups of players who weekly received pre-game Toradol injections thus suffered

repetitive MTBI at a time when their brains were most susceptible to permanent damage and

injury. That damage itself enhances a retired player’s risk of experiencing a stroke later in life.

See James F. Burke et al., Traumatic Brain Injury May Be an Independent Risk Factor for

Stroke, 81 Neurology 1 (2013). On top of these effects, the effects of sustained, long-term

Toradol use are completely unknown. See Eddie Matz, Stick Route, ESPN The Magazine (Nov.

28, 2011).37 Thus, the NFL’s own negligent and fraudulent actions have contributed to the

prevalence of stroke among retired players. Co-Lead Class Counsel knew of these allegations –

indeed, he represents the Finn plaintiffs – yet the settlement makes no mention of these injuries

except to release any claims for them and to inexplicably select them as bases for reducing the

retired player’s compensation.

       Representative Plaintiffs did not adequately represent Objectors’ interests in eliminating

or reducing the offset related to stroke and post-NFL TBI. Neither Mr. Turner nor Mr. Wooden

claims an increased risk of stroke through NFL-administered Toradol use. As a result, neither

can adequately represent those class members who some day may suffer such a stroke – and the

resulting drop in compensation under the proposed settlement – as a result of the NFL’s own

conduct.


37
    Available at http://espn.go.com/nfl/story/_/id/7243606/nfl-players-tony-romo-ronde-barber-
rely-new-painkiller-toradol.


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       C.      Class Members Who Played in NFL Europe Are Not Given Credit for the
               Seasons They Played There

       Inexplicably, the Revised Settlement, while releasing all claims of NFL Europe players,

does not award class members “Eligible Season” credit for time spent playing in NFL Europe or

its predecessors. Revised Settlement § 6.7(c)(i). Thus, a class member who played five years in

the NFL will receive a larger settlement award than a class member who played two years of his

career in NFL Europe and three years in the NFL. That is true even though players in NFL

Europe undoubtedly sustain repeated concussive and subconcussive impacts, just like players in

the NFL. Again, Class Counsel offer no justification for this arbitrary distinction. And because

neither Mr. Turner nor Mr. Wooden alleges that he played in NFL Europe, neither adequately

represents the interests of players who did play there – thus, explaining why NFL Europe players

are treated disparately. See GM Trucks, 55 F.3d at 800 (finding class representation inadequate

where “settlement appears to create antagonism within the class”).

                                             * * * * *

       Simply put, there are distinct groups within the proposed class whose rights have been

bargained away without representation. These intra-class conflicts preclude preliminary certifi-

cation of the settlement class.38 “The class representatives may well have thought that the

Settlement serves the aggregate interests of the entire class.        Where “the interests of the

representative plaintiffs and the interests of [absentee class members] align[] in opposing


38
  Courts also recognize intra-class conflicts as an indication that a settlement is not reasonable at
the final approval stage. See In re GM, 55 F.3d at 808. A “disparity in the relief afforded under
the settlement to the named plaintiffs, on the one hand, and the unnamed class members, on the
other hand, [makes] the settlement unfair.” Vassalle v. Midland Funding LLC, 708 F.3d 747,
755 (6th Cir. 2013) (reversing district court’s approval of a settlement). A court should reject a
settlement where such an intra-class conflict is present on the grounds that it does not represent
the “best possible recovery” for all putative class members. In re Pet Food Prods., 629 F.3d
333, 355 (3d Cir. 2010).


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directions,” class representation is inadequate. Dewey, 681 F.3d at 188; see also Amchem, 521

U.S. at 627 (denying class certification where settlement not agreed to by representatives of all

sub-classes); see also Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999) (holding that intra-

class conflict “require[d] division into homogenous subclasses . . . with separate representation to

eliminate conflicting interests”).39

II.    Other Factors Call Into Question Whether the Settlement Can Be Approved as Fair,
       Adequate, and Reasonable

       A.      The Proposed Notice Is False and Misleading

       “The due process requirements of the Fifth Amendment and the Federal Rules of Civil

Procedure require adequate notice to class members of a proposed settlement.” Nichols v.

SmithKline Beecham Corp., No. 00-6222, 2005 WL 950616, at *9 (E.D. Pa. Apr. 22, 2005).

Notice must be “the best notice practicable under the circumstances,” “concisely and clearly

stat[ing] in plain, easily understood language,” inter alia, “the nature of the action[,] the

definition of the class certified[, and] the class claims, issues, or defenses.” Fed. R. Civ. P.

23(c)(2)(B).

       For this Court to properly evaluate the reaction of the class at the final approval stage, the

notice must clearly describe the settlement’s benefits and limitations – including that class

members will receive no recovery for CTE, even if it is discovered upon autopsy. The proposed

notices do not do so. See Mem. Exs. C-3, C-5. To the contrary, the long-form and short-form

notice aim to sell the settlement to players, not to explain the actual implications of its terms.


39
   Should the Court agree that intra-class conflicts prevent preliminary certification, the Court
should “simply divide the groups into subclasses,” Dewey, 681 F.3d at 189, so that “separate
counsel [can] provide[ ] adequate structural protections to assure that differently situated
plaintiffs negotiate for their own unique interests,” In re Warfarin Sodium Antitrust Litig., 391
F.3d 516, 533 (3d Cir. 2004) (quotation marks omitted).


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Both highlight the av
                    vailability off monetary awards
                                             a      for pplayers diagnnosed with C
                                                                                 CTE. But neeither

explains – or so much as indicaates – that while
                                           w     past ddiagnosed caases of CTE are coveredd if a

class meember dies before preliminary app
                                        proval, no ffuture casees of CTE ppost-preliminary

approvall are covereed. A meree superficiall examinatioon of the nnotices’ langguage showss this

muddyin
      ng of actual benefits:
                   b

Short Fo
       orm Notice:




Mem. Ex
      x. C-5.

Long Fo
      orm Notice:




Mem. Ex
      x. C-3, at 10
                  0. Moreoveer, the long form noticee provides a clearly fallse and deceeptive

statemen
       nt regarding what constiitutes a “quaalifying diaggnosis.” Although the notice statess that

                                        a time unntil the end of the 65-yyear term oof the
“[a] Quaalifying Diagnosis may occur at any

Monetary
       y Award Fu
                und,” such pllainly is nott the reality. Id. If a pllayer is diaggnosed with CTE




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after the preliminary approval stage, he is entitled to nothing forever – regardless of the

Monetary Award Fund’s duration.

       This obfuscation of the actual terms of the settlement is even more egregious because

retired players received the contrary assurance through a widespread media campaign in the last

four months of 2013 – they were expressly informed the settlement would provide $4 million if

they die with CTE.40 Indeed, class counsel have been touting the settlement on YouTube even

before filing the Revised Settlement with the Court.41 Any notice sent at this point would require

a custom-designed media campaign explaining the truth of the settlement’s restrictions on

payments for CTE only for deceased players, and nothing for living players who have or are later

found to have CTE.

        “It is a generally accepted principle that due process requires that the notice of a

settlement proposal must reasonably apprise members of the class of the terms of the settlement

and of the options open to those who would dissent.” Boggess v. Hogan, 410 F. Supp. 433, 442

(N.D. Ill. 1975) (citing Air Lines Stewards & Stewardesses Ass’n, Local 550 v. Am. Airlines,

Inc., 455 F.2d 101, 108 (7th Cir. 1972); Grunin v. Int’l House of Pancakes, 513 F.2d 114, 122

(8th Cir.)), cert denied, 423 U.S. 864 (1975)); Nichols, 2005 WL 950616, at *9. The notice here

fails to adequately inform class members of the terms of the settlement because of the power of



40
   Associated Press, supra; see also Sophia Pearson & Jeff Feeley, NFL’s $914 Million
Concussion Deal Submitted to Federal Court, The Morning Journal (Jan. 18, 2014 9:23 AM),
http://www.morningjournal.com/sports/20140108/nfls-914-million-concussion-deal-submitted-
to-federal-court; Jason M. Breslow, Judge Rejects $765 Million NFL Concussion Settlement,
Frontline (Jan. 14, 2014 3:59 PM), http://www.pbs.org/wgbh/pages/frontline/sports/league-of-
denial/judge-rejects-765-million-nfl-concussion-settlement/; Patrick Hruby, Raw Deal,
SportsonEarth.com (Jan. 10, 2014), http://www.sportsonearth.com/article/66471614/#!6oxsi.
41
   The NFL Concussion Class Settlement (May 1, 2014), https://www.youtube.com/
watch?v=9EWNBNgMoEk (last visited May 27, 2014).


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the misinformation that came before it, and because it continues that deception, by failing to state

that players suffering from CTE and their families will receive nothing.42

       Such procedurally and substantively deficient notice fails the requirements of Rule 23

and amounts to a denial of due process.

       B.      The Settlement Establishes Unduly Burdensome Procedural Requirements
               That Will Effectively Deny Class Members Recovery

       To receive any recovery, class members must navigate a complex and burdensome

administrative process that appears designed to decrease the cost to the NFL. Like the class

settlement recently rejected in Eubank v. Pella Corp., __ F.3d __, 2014 WL 2444388, at *7 (7th

Cir. June 2, 2014), the Revised Settlement “strews obstacles in the path of any” class member

seeking recovery by imposing requirements and deadlines that, if unsatisfied, reduce or

completely bar recovery. This unwieldy and onerous claims process does not fundamentally

protect class members’ rights, does not satisfy Rule 23(d)’s requirements, and raises clear due

process concerns. See U.S. Const. amend. V; Fed. R. Civ. P. 23(d).

       For example:

             class members have 180 days to register with the Claims Administrator; but those

                who do not are ineligible for any benefits, even though their claims are released,

                Revised Settlement § 4.2(c);

             certain class members must undergo baseline assessment examinations by

                arbitrary deadlines or suffer a 10% offset, id. §§ 5.4, 6.7(b)(iv);




42
   By the time the players actually would receive the proposed notices, their ability to recover for
CTE will have been completely foreclosed, because the notices would be sent or published only
after preliminary approval — which is the cut-off date for “Death with CTE” awards.


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             class members who comply with these preliminary requirements must file an

               extensive “Claim Package” within two years of receiving a qualifying diagnosis,

               id. §§ 8.2(a), 8.3(a)(i); and

             Class Counsel has not provided the Court with the proposed claim form and

               instructions that class members – many of whom are suffering serious cognitive

               impairment – are to use to navigate this procedural labyrinth.

That alone justifies rejecting the settlement. See Eubank, 2014 WL 2444388, at *8 (rejecting

class settlement and criticizing complexity of claim forms). But it gets worse. Once a claim is

submitted, the Claims Administrator can investigate and “request additional documentation,”

which the class member must supply “in order to claim a Monetary Award . . . .” Revised

Settlement § 8.6(a).

       Class members whose claims are denied may appeal, but only after paying a $1,000 fee

(which is refundable if the appeal is successful). Revised Settlement § 9.6(a).43 But, the NFL

may appeal an unlimited number of claim determinations without payment of any fee. Id.

§ 9.6(b). Appellants must “present evidence in support of their appeal.” Id. § 9.7(a). Appeals

are decided by the Court, who may consult with an Appeals Advisory Panel consisting of

members jointly recommended by Co-Lead Class Counsel and the NFL Parties. Id. § 9.8. By

affording the NFL unlimited appeals without disincentive to do so and by requiring appellants to




43
    That appeal fee will discourage many retired players from challenging adverse claim
determinations. Within two years of retirement, 78% of former NFL players are under financial
stress. Pablo S. Torre, How (and Why) Athletes Go Broke, Sports Illustrated (Mar. 23, 2009),
http://sportsillustrated.cnn.com/vault/2009/03/23/105789480/how-and-why-athletes-go-broke.


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present evidence on appeal, the Revised Settlement essentially requires that class members

submit to a multi-tiered, mini-arbitration to receive their benefit awards.44

       Finally, the Revised Settlement imposes a series of “anti-fraud” provisions that appear

designed to decrease the number of, and the amount of awards and save the NFL money. The

Claims Administrator must audit 10% of all applicants each month.               Revised Settlement

§ 10.3(c).   Auditors may demand additional information and documents from the class

member.45 Even partial non-compliance with the demand requires denial of the claim “without

right to an appeal.” Id. § 10.3(b)(ii).

       This complex procedural framework is a transparent attempt to minimize the cost of the

settlement to the NFL – a consideration of tremendous importance now that the so-called “cap

has been lifted.”46 Class Counsel certainly could have negotiated a simpler payment process.


44
   The claims administration process may ultimately operate in a manner similar to current
disability programs jointly administered by the NFL and the NFLPA. Just 34% of the
applications submitted for temporary and permanent disability are approved in the initial stage.
L. Elaine Halchin, Former NFL Players: Disabilities, Benefits, and Related Issues,
Congressional Research Service, at 82 (Apr. 8, 2008). Those disability programs, moreover,
have been heavily criticized for improperly denying meritorious claims. See id. at 76-77
(quoting Michael Leahy, The Pain Game, Washington Post Magazine, at 10, 23 (Feb. 3, 2008));
see also Michael Rosenberg, “Permanently Disabled,” Harrison Fighting for Benefits NFL Took
Away, Sports Illustrated (Jan. 29, 2014), http://www.si.com/nfl/2014/01/29/dwight
-harrison-nfl-pension; Michael O’Keefe, Still Plenty of Skeptics After NFL Reaches New Deal
with Players to Settle Concussion-Related Lawsuit, New York Daily News (June 28, 2014 11:40
AM), http://www.nydailynews.com/sports/football/score-nfl-deny-issues-article-1.1847588.
45
  The scope of the information demand is extensive, including such items as all medical records
in the class member’s control relating to the qualifying diagnosis and a “list of all health care
providers seen by the Retired NFL Football Player in the last five (5) years.” Revised Settlement
§ 10.3(e)(i)-(ii); see also id. § 10.3(e).
46
   The cap’s lifting is a ceremonial gesture: the NFL Parties repeatedly emphasize that they
“remain undeterred in their belief that the $760 million deal originally struck would have been
sufficient to compensate all Class Members with valid claims over the term of the Monetary
Award Fund.” Mem. 12; see also id. at 1, 42. But their uncapped-with-strings-attached
settlement is even more troubling when the NFL Parties’ ability to withstand a settlement even
greater than the $765 million figure they deem sufficient is considered. The NFL projects that its


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They did so for themselves – they will receive their $112.5 million payment within 60 days after

the Revised Settlement takes effect. Revised Settlement § 21.2. Yet, their abandoned clients –

many suffering serious cognitive impairment – will be left to figure it out on their own,

wandering through an administrative maze that allows the NFL to say “gotcha” at every turn.

       Courts have refused to approve settlements with benefits that are illusory in light of the

procedural difficulty to realize them. See Eubank, 2014 WL 2444388, at *7-10 (rejecting

settlement that “strews obstacles in the path of any” class member); In re Dry Max Pampers

Litig., 724 F.3d 713, 718-19, 721 (6th Cir. 2013) (rejecting class settlement, in part, due to an

onerous claims process); Walter v. Hughes Commc’ns, Inc., No. 09-2136, 2011 WL 2650711, at

*14 (N.D. Cal. July 6, 2011) (rejecting class settlement where “[m]any hurdles stand between a

class member and the receipt of . . . payment” and claim form was “unnecessarily complex,”

“confusingly arranged,” and “invites user error”). The deficient claims process here requires

denial of preliminary approval.

       C.     The Proposed Settlement Is Not the Product of Arm’s Length Negotiation

       Because class counsel and defendants have strong incentives to collude in crafting a class

settlement, see, e.g., GM Trucks, 55 F.3d at 787-89, a proposed settlement must arise from arm’s

length negotiations to receive preliminary approval. First, the settlement is riddled with intra-


revenues will be upwards of $25 billion by 2027. See Daniel Kaplan, Goodell Sets Revenue
Goal of $25 Billion by 2027 for NFL, Sports Business Journal (Apr. 5, 2010),
http://www.sportsbusinessdaily.com/Journal/Issues/2010/04/20100405/This-Weeks-News/
Goodell-Sets-Revenue-Goal-Of-$25B-By-2027-For-NFL.aspx; Brent Schrotenboer, NFL Takes
Aim at $25 Billion, But At What Price?, USA Today (Feb. 5, 2014), http://www.
usatoday.com/story/sports/nfl/super/2014/01/30/super-bowl-nfl-revenue-denver-broncos-seattle-
seahawks/5061197/. And last year alone the NFL had an annual revenue of more than $10
billion, Schrotenboer, supra, earned a reported $1 billion from licensing alone, and paid its
commissioner more than $35 million, Ryan Wilson, NFL Paid Roger Goodell $35.1 Million Last
Year, CBSSports.com (Feb. 14, 2014 3:25 PM), http://www.cbssports.com/nfl/eye-on-football
/24443392/report-nfl-paid-roger-goodell-351-million-last-year.


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class conflict. Second, the generous attorneys’ fee provision raises red flags that Class Counsel

may have bargained away the interests of some segments of the class. Third, the Revised

Settlement gives no indication that Sub-Class Counsel and Representative Plaintiffs

meaningfully participated in the negotiation process and exercised effective control and

supervision over Class Counsel. Fourth, the entire negotiation process has been burdened with a

lack of transparency calling into question any alleged fairness of the proposed settlement.47

               1.      Intra-Class Conflict Suggests the Absence of an Arm’s Length
                       Negotiation

       The intra-class conflicts in the Revised Settlement smack of a lack of arm’s length

negotiations. “[T]he mere fact that negotiations transpired does not tend to prove that the class’s

interests were pursued,” GM Trucks, 55 F.3d at 814, particularly “where the potential for intra-

class conflict . . . [i]mperils the class’s representation,” id. at 797. Courts cannot preliminarily

approve settlements that contain “obvious deficiencies such as unduly preferential treatment of

class representatives or segments of the class . . . .” NFL Concussion, 961 F. Supp. 2d at 714

(emphasis added). That is precisely the case here. The settlement short-changes class members

at future risk of developing CTE by limiting recovery to those who die before preliminary

approval. It short-changes class members who experienced a stroke or non-football related TBI

by reducing awards by 75%. And it short-changes veterans of NFL Europe by denying them

credit for the seasons they played in that league. Even “vigorous, arm’s length negotiations” are

meaningless unless “the lawyers actually negotiating really were doing so on behalf of the entire

class.” GM Trucks, 55 F.3d at 797. Class Counsel certainly did not do so here.


47
  When the Court previously suggested that “[t]here is nothing to indicate that the Settlement is
not the result of good faith, arm’s-length negotiations between adversaries,” NFL Concussion,
961 F. Supp. 2d at 715, it did not have before it many of the concerns that Objectors raise.


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               2.      The Attorneys’ Fee Provision Raises Concerns That Class Counsel
                       Bargained Away Class Members’ Interests

       “Collusion” between class counsel and defendants “may not always be evident on the

face of a settlement.” In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 947 (9th Cir.

2011). Accordingly, courts have a duty to scrutinize settlements for “subtle signs that class

counsel have allowed pursuit of their own self-interests and that of certain class members to

infect negotiations.” Id.; see also NFL Concussion, 961 F. Supp. 2d at 714 (noting “excessive

compensation of attorneys” can preclude preliminary approval). The attorneys’ fee provision

here is far from a “subtle” sign. If anything, it is flashing neon.

       First, the NFL Defendants – in what is known as a “clear sailing agreement” – have

consented not to object to Class Counsel’s fee petition. Revised Settlement § 21.1. The “ ‘very

existence of a clear sailing provision increases the likelihood that class counsel will have

bargained away something of value’ ” – like compensation for all cases of CTE – “ ‘to the

class.’ ” Bluetooth Headset, 654 F.3d at 948 (quoting Weinberger v. Great N. Nekoosa Corp.,

925 F.2d 518, 525 (1st Cir. 1991)). Thus, clear sailing agreements are “disfavored.” Id. at 949.

       Second, “fee negotiations [should] be postponed until the settlement [is] judicially

approved, not merely until the date the parties allege to have reached an agreement.” GM

Trucks, 55 F.3d at 804 (emphasis added). The circumstances suggest Class Counsel “pursued a

deal with the defendants separate from . . . the deal negotiated on behalf of the class.” GM

Trucks, 55 F.3d at 803-04. In any event, this Court need not “ ‘place . . . dispositive weight on

the parties’ self-serving remarks,’ ” Bluetooth Headset, 654 F.3d at 948 (quoting GM Trucks, 55

F.3d at 804), that the “Settling Parties did not discuss the issue of attorneys’ fees at any point

during the mediation sessions,” Mem. 30. The timing of the Settling Parties’ fee negotiations,




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which occurred even before public release of the initial settlement agreement, suggests the

absence of arm’s-length negotiations.

       Finally, the attorneys’ fee provision authorizes Class Counsel to petition the Court for a

5% set aside – drawn from each claimant’s settlement award – to “facilitate the Settlement

program and related efforts of Class Counsel.” Revised Settlement § 21.1. That provision places

no limits on how Class Counsel may use the set aside (although it does require that any petition

describe “how the money will be used”).          Id.   More importantly, the provision gives no

mechanism for noticing class members of Class Counsel’s petition for the set aside nor does it

authorize any procedures by which class members can oppose that petition. In short, the set

aside allows Class Counsel the opportunity to augment their $112.5 million attorney fee at the

expense of the class.

               3.       The Role of Sub-Class Counsel and Representative Plaintiffs Is
                        Unknown

       The role of Representative Plaintiffs and Sub-Class Counsel in negotiating the settlement

and overseeing Class Counsel has been entirely hidden, further suggesting that the negotiations

did not occur at arm’s length. “The protection of the absentee[ ] [class members’] rights depends

in part on the extent the named plaintiffs are adequately interested to monitor the attorneys . . . .”

GM Trucks, 55 F.3d at 784. Thus, the “specter of collusion” is present when “ ‘class counsel

[are] allowed to prosecute an action and negotiate settlement terms without meaningful oversight

by the class representative.’ ” Olden v. Gardner, 294 F. App’x 210, 219 (6th Cir. 2008) (quoting

In re Cal. Micro Devices Sec. Litig., 168 F.R.D. 257, 262 (N.D. Cal. 1996)). Class Counsel have

not shown such meaningful oversight here.           Although the Revised Settlement states that

Representative Plaintiffs were shown the agreement and were familiar with the agreement, it

says nothing about Representative Plaintiffs’ participation in the negotiations.             Revised


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Settlement § 25.2. Nor did the mediator describe Representative Plaintiffs’ role. Dkt. No. 6073-

4.    Indeed, media reports indicate that Co-Lead Class Counsel has “clashed with his own

clients.”48 When “class representatives provide[ ] no meaningful oversight of the class counsel

during the settlement negotiations,” the “risk of collusion weighs against the settlement.” Olden,

294 F. App’x at 219.

         Similarly, Class Counsel offer no description of the role that Sub-Class Counsel played in

the negotiation. In fact, Class Counsel did not recruit Sub-Class Counsel until negotiations were

already underway before the mediator. See Dkt. No. 6073-4 ¶ 7.

                4.     The Settlement Negotiation Process Has Lacked Transparency

         The class members – many of whom have their own counsel – have been left in the dark

throughout the process. See Patrick Hruby, Show Us Some Math, Sportsonearth.com (Jan. 20,

2014) (describing the settlement process as “cloak[ed] [in] secrecy”).49 There has been no

indication of the bid and ask throughout the negotiations. And despite the Court’s order that

economic and actuarial information should be shared with the Special Master, it is not clear that

it was; and it certainly was not provided, even in summary form, to the class. “ ‘Sunlight is said

to be the best of disinfectants; electric light the most efficient policeman.’ ” Buckley v. Valeo,

424 U.S. 1, 67 (1976) (per curiam) (quoting L. Brandeis, Other People’s Money 62 (Nat’l Home

Library Found. ed. 1933)). That is particularly so in the class settlement context, where the court

lacks the “clash of adversaries” that ordinarily “generate[s] the information that the judge needs

to decide the case.” Eubank, 2014 WL 2444388, at *2 (rejecting class settlement); see also In re


48
   Steve Fainaru & Mark Fainaru-Wada, Lawyers Fight Over Settlement Details, ESPN.com
(Jan. 24, 2014, 8:18 PM), http://espn.go.com/espn/otl/story/_/id/10346091/lead-negotiator-
facing-strong-opposition-concussion-settlement.
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     Available at http://www.patrickhruby.net/2014/01/show-us-some-math.html.


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Cmty. Bank of N. Va., 418 F.3d 277, 319 (3d Cir. 2005) (rejecting approval of settlement where

district court “entrusted class counsel to prepare . . . findings [of fact] in an ex parte closed door

session” without participation of other class members). In the absence of transparency regarding

the settlement negotiations, neither the Court nor the class members can be assured that Class

Counsel zealously negotiated on behalf of absent class members.

       D.      The Lack of Discovery Precludes Preliminary Approval of the Proposed
               Settlement

       Class Counsel appear to have conducted no discovery – none.50 The absence of even a

basic factual record precludes any reasonably valid assessment of the value of the class’s claims.

Class Counsel cannot possibly have fulfilled their duty to do so and accordingly they have

provided neither the class nor the Court with any basis for determining that the compromise

reached is fair, adequate, and reasonable.       “[A]chiev[ing] the settlement after little or no

discovery . . . raise[s] a red flag.” GM Trucks, 55 F.3d at 806.

               1.      Class Counsel Could Not Possibly Have Fulfilled Their Duties to the
                       Class Without Taking Any Discovery

       Discovery allows counsel to develop “an adequate appreciation of the merits of the case

before negotiating.” GM Trucks, 55 F.3d at 813. “ ‘The deference afforded counsel should

correspond to the amount of discovery completed and the character of the evidence uncovered.’ ”

Olden, 294 F. App’x at 219 (quoting Williams v. Vukovich, 720 F.2d 909, 922-23 (6th Cir.

1983)). Thus, when no discovery is taken, courts “question[ ] whether class counsel could have

negotiated in [the] best interests” of absent class members. Cmty. Bank, 418 F.3d at 307

(rejecting class settlement).

50
   In describing their investigation of the facts, Class Counsel describe only an informal
exchange of information and point to no formal discovery. There is no indication that any was
taken. See Mem. 43.


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       Merits discovery is particularly important in a case alleging claims like fraud and

negligent concealment, where the best evidence is likely in the NFL Defendants’ hands. The

Complaint lists dozens of media reports and facts demonstrating the NFL’s cover-up of

information and willful dissemination of misinformation regarding the risks of head trauma from

football. E.g., Compl. ¶¶ 128-199. Investigation of these facts through discovery of the NFL’s

internal files could yield powerful and compelling evidence of the NFL’s culpability –

strengthening Class Counsel’s hand at the negotiating table. Yet Class Counsel settled this case

without taking a single deposition and without the NFL producing a single document related to

the merits of the underlying claims.       Instead, Class Counsel purport to have “exchanged

information” with the NFL during the negotiation, including “expert calculations of damages.”

Mem. 43. But references to unspecified “information” and damages calculations say nothing

about the NFL’s liability and the strength of Plaintiffs’ case.

       That limited exchange of “information” cannot support preliminary approval of a class

settlement, as Olden v. Gardner makes clear. In that case, class members brought suit against a

corporation alleging property damage and personal injuries arising from pollution emissions

from the defendant’s cement plant. Olden, 294 F. App’x at 211. Following class certification,

the class counsel entered into settlement negotiations with the defendant corporation, without

obtaining any expert opinions on the alleged claims or defenses, engaging in discovery, or

notifying any of the class representatives that such negotiations were taking place. Id. at 213-14.

These factors strongly weighed against approval of the settlement on appeal because “[o]btaining

expert opinions and engaging in formal discovery are usually essential to establishing a level




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playing field in the settlement arena [as] it enables the class counsel to develop the merits of their

case.” Id. at 218.51

       Negotiating blindly, Class Counsel “could not have entered into the settlement

negotiations with much more than an uneducated guess as to the merits of the case and the

propriety and fair value of a settlement.” Olden, 294 F. App’x at 218. They could not “fairly,

safely, and appropriately decide to settle the action.” GM Trucks, 55 F.3d at 814.

               2.      Without Discovery, Neither the Court Nor the Class Members Can
                       Assess the Settlement

       This Court made clear that Class Counsel must “provide the court with the information

needed to evaluate the fairness or adequacy of a proposed settlement.” NFL Concussion, 961 F.

Supp. 2d at 715-16 (citing cases). Without discovery on the merits, “courts have no other basis

on which to conclude that counsel adequately developed the claims before deciding to settle.”

GM Trucks, 55 F.3d at 814. Neither do class members. They cannot make an informed decision

about whether to go along with the settlement, object, or opt out.

               3.      Discovery Would Have Allowed Class Counsel To Overcome – or at
                       Least Understand – What They Claim Are “Significant Challenges
                       and Obstacles in the Litigation”

       Class Counsel devote ten pages of their Memorandum in Support to discussing

preemption, causation, statute of limitations, assumption of the risk, and “other defenses.” Mem.

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   Class Counsel’s reliance on In re Processed Egg Products Antitrust Litigation, 284 F.R.D.
249, 267 (E.D. Pa. 2012), and Gates v. Rohm & Haas Co., 248 F.R.D. 434, 444 (E.D. Pa. 2008),
is misplaced. See Mem. 43 n.17. Both cases involved extensive productions of information on
the merits of the case. Gates, 248 F.R.D. at 444 (noting “dozens of depositions,” “hundreds of
pages of expert reports,” and “hundreds of thousands of pages of documents” produced);
Processed Egg, 284 F.R.D. at 271 (describing informal discovery of over 3,200 documents that
described defendant’s “participation in the conspiracy”). Barani v. Wells Fargo Bank, N.A., on
which Class Counsel also rely, similarly involved “substantial discovery.” 2014 WL 1389329, at
*5 (S.D. Cal. Apr. 9, 2014). The parties in Barani engaged in both formal and informal
discovery, conducting precisely the “thorough[ ] investigat[ion]” absent here. Id. at *6.


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61-71. They claim that this is a tough case and that they face “stiff and complex challenges.” Id.

at 61. Then, they meekly offer that whether they could have “met their burden of proof” was a

“significant consideration” in settling at this time. Id. However, it is hard to understand how

they can say this, given that whether a burden of proof is met is a question of fact, and they

developed no facts through discovery. Had they done so, they may not have considered those

“obstacles” so “significant.”

       Preemption: Class Counsel contend that preemption under § 301 of the Labor

Management Relations Act (LMRA) presents a “significant” legal challenge for Plaintiffs in

light of the NFL Parties’ referenced collective-bargaining agreements (CBAs). Mem. 61-64.

However, § 301 only preempts “claims founded directly on rights created by collective-

bargaining agreements,” or claims “substantially dependent on analysis of a collective-

bargaining agreement.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 394 (1987) (emphasis

added) (former employees’ claims against former employer were not preempted because claims

arose out of individual employment contracts and did not touch on CBA provisions).

       Class Counsel ignore the importance of this point, and do not even acknowledge the

recent decision Green v. Arizona Cardinals Football Club, where the district court, relying on

Caterpillar, held that the claims of retired NFL players against the Arizona Cardinals for brain

injuries resulting from TBI were not precluded by the CBA. Green v. Ariz. Cardinals Football

Club, LLC, No. 14-CV-461, 2014 WL 1920468, at *3 (E.D. Mo. May 14, 2014). The court’s

reasoning holds true here:      Preemption is not triggered where a dispute only “tangentially

involve[s] a provision of a [CBA].” Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 211 (1985).

Stated differently, “section 301 does not preempt state law claims merely because the parties

involved are subject to a CBA and the events underlying the claim occurred on the job.”



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Williams v. Nat’l Football League, 582 F.3d 863, 874 (8th Cir. 2009). What matters is whether

the plaintiffs’ claims turn on rights that are actually set forth in a CBA provision or that “require

interpretation or construction of the CBA” itself. Green, 2014 WL 1920468, at *3 (quoting

Williams, 582 F.3d at 876) (rejecting preemption argument on ground that alleged NFL CBAs

were not the source of players’ claims of negligence, misrepresentation, and fraudulent

concealment).

       Plaintiffs’ claims here turn on factual questions about the NFL’s conduct – what actions

or representations it did or did not perform and when and why it decided to perform them. For

example, when did the NFL first learn of the connection between MTBI and neurodegenerative

disease? What data did the NFL collect? How and why did it craft its public statements on

concussions? Why were some of these statements directed to high school and college players,

and even to parents deciding whether to allow their children to play football? Discovery is

needed before any realistic assessment as to the “challenges or obstacles” Plaintiffs might face

regarding preemption.

       Causation:       Class Counsel claim they face “significant legal impediments surrounding

[their] ability to prove causation and obtain verdicts in the absence of a settlement.” Mem. 64.

But “[p]roximate cause requires only ‘some direct relation between the injury asserted and the

injurious conduct alleged,’ and excludes only those ‘link[s] that are too remote, purely

contingent, or indirect.’ ” Staub v. Proctor Hosp., 131 S. Ct. 1186, 1192 (2011) (citing Hemi

Group, LLC v. City of New York, 130 S. Ct. 983, 989 (2010)). So long as the NFL Parties’

conduct constituted “a substantial factor in bringing about harm to” putative class members, that

is enough to impose liability – even if Defendants “neither foresaw nor should have foreseen the




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extent of the harm or the manner in which it occurred” to Plaintiffs. Restatement (Second) of

Torts § 435(1) (1965).

       Class Counsel are wrong to cede any ground to this defense without obtaining discovery

into the Defendants’ conduct. When the NFL first learned of the connection between head

trauma and neurodegenerative disease, what studies it undertook concerning this information,

and how and why it crafted its public statements concerning concussions, are questions that

should be pursued through discovery to address the purported causation “impediment.”

       Statute of Limitations: Class Counsel contend their claims faced “a significant potential

risk” of dismissal in light of the “serious challenge” presented by a statute of limitations. Mem.

65. This professed concern ignores the doctrine of fraudulent concealment, which “tolls the

statute of limitations where ‘through fraud or concealment the defendant causes the plaintiff to

relax vigilance or deviate from the right of inquiry.’ ” Mest v. Cabot Corp., 449 F.3d 502, 516

(3d Cir. 2006) (quoting Ciccarelli v. Carey Can. Mines, Ltd., 757 F.2d 548, 556 (3d Cir. 1985))

(whether defendants made misrepresentations to plaintiffs and the nature of any

misrepresentations is relevant to determining if fraudulent concealment tolled limitations period).

       Significantly, Class Counsel urged that a statute of limitations defense should fail on this

very ground in other litigation.     See Finn Compl. ¶¶ 144-148 (the “applicable statute of

limitations is tolled because Defendant’s fraudulent concealment of the dangers and adverse

effects of head injuries made it impossible for Plaintiffs to learn of the hazards to their health”).

The question is whether a defendant undertook some “affirmative and independent act of

concealment that would prevent the plaintiff from discovering the injury[,] despite the exercise

of reasonable diligence.” Bohus v. Beloff, 950 F.2d 919, 925 (3d Cir. 1991). But rather than

answer that factual question through evidence developed in discovery to negotiate a settlement



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that compensates all injured class members, Class Counsel punted. The proposed settlement thus

excludes all class members who died before January 1, 2006, unless the claimant can

demonstrate that the statute of limitations would not apply. Revised Settlement § 6.2(b)

       Assumption of the Risk:        Class Counsel argue that an “assumption-of-risk” defense

also potentially blocks Plaintiffs’ claims. Mem. 67-70. But the assumption of the risk “doctrine

is very narrow,” limited only to circumstances where it is clear that “the ‘nature and extent’ of

the risk were ‘fully appreciated’ and that the plaintiff voluntarily proceeded to face that risk.”

Barnes v. Am. Tobacco Co., 984 F. Supp. 842, 869 (E.D. Pa. 1997) (quoting Childers v. Power

Line Equip. Rentals, Inc., 452 Pa. Super. 94 (1996)).        The retired players unquestionably

assumed certain bodily risks, but they did not consent to face the types of harm alleged here –

harm concealed from them by Defendants. See Murphy v. Steeplechase Amusement Co., 250

N.Y. 479, 482-83 (1929) (“One who takes part in [ ] a sport accepts the dangers that inhere in it

so far as they are obvious and necessary, . . . [but a] different case would be here if the dangers

inherent in the sport were obscure or unobserved, or so serious as to justify the belief that

precautions of some kind must have been taken to avert them.”).

       Class Counsel pled facts – for which they presumably had a good-faith basis – that would

easily defeat an assumption of the risk defense. The evidence supporting those allegations has

not been developed through discovery.

       Statutory Employer: Class Counsel also state that the NFL Defendants “may argue they

are similarly situated to a general contractor with respect to the injured players, and the injured

players are akin to the employees of subcontractors.” Mem. 71 (emphasis added). However,

“very great care . . . must be exercised before allowing an employer to avoid his liability at

common law by asserting that he is a statutory employer.” Stipanovich v. Westinghouse Elec.



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Corp., 210 Pa. Super. 98, 106 (1967). In the Third Circuit, Defendants must identify “an owner,

a principal contractor[,] and a subcontractor” for the defense to apply; a party “cannot be both

the owner (or in the position of owner) and statutory employer at the same time.” Pozza v.

United States, 324 F. Supp. 2d 709, 712 (W.D. Pa. 2004) (citing Jamison v. Westinghouse Elec.

Corp., 375 F.2d 465, 469 (3d Cir. 1967) (emphasis added)). If the defense were to be asserted,

discovery would be needed into the NFL, the individual teams, and the teams’ owners to

examine their corporate structure and contractual relationships.

                                        CONCLUSION

       For these reasons, the Court should deny Class Counsel’s motion for conditional

certification of the proposed class and subclasses and for preliminary approval of the Revised

Settlement.

Dated: July 2, 2014                                        Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2014, I caused the foregoing Objection to June 25, 2014

Class Action Settlement and Opposition to Motion for Preliminary Approval of Sean Morey,

Alan Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, Jeff Rohrer, and Sean

Considine to be filed with the United States District Court for the Eastern District of

Pennsylvania via the Court’s CM/ECF system, which will provide electronic notice to all counsel

of record.

                                                   Steven F. Molo

                                                   Steven F. Molo
